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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



 FEDERAL TRADE COMMISSION,

                             Plaintiff,

                       v.
                                                               Case No. 1:24-cv-03109-JLR
 TAPESTRY, INC.,
                                                               xxxxxxxxxxxx
                                                               [PROPOSED] CASE
                 and
                                                               MANAGEMENT AND
                                                               SCHEDULING ORDER
 CAPRI HOLDINGS LIMITED,

                             Defendants.



       Plaintiff Federal Trade Commission (“FTC” or “Commission”) and Defendants Tapestry,

Inc. and Capri Holdings Limited (collectively, “Defendants”) respectively submit this Proposed

Case Management and Scheduling Order.

A.     TEMPORARY RESTRAINING ORDER. The FTC and Defendants stipulated to a

       temporary restraining order on April 22, 2024, which the Court so ordered on April 24,

       2024. Under that temporary restraining order, the Defendants have agreed not to close

       their transaction until after 11:59 PM Eastern Time on the fifth business day after the

       Court rules on the Plaintiff’s request for a preliminary injunction pursuant to Section

       13(b) of the Federal Trade Commission Act, 15 U.S.C. § 53(b), or until after the date set

       by the Court, whichever is later.

B.     DISCOVERY

       1. Initial Disclosures. The parties shall serve upon each other initial disclosures

           pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(i) by May 7, 2024. The


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   disclosures shall include the name and, if known, the address and telephone number

   of each individual likely to have discoverable information (or in the alternative, the

   relevant information for that individual’s counsel, if known)—along with the subjects

   of that information—that the disclosing party may use to support its claim or defenses

   in this action. If the parties need to supplement or correct their disclosures during the

   pendency of this action, they will do so pursuant to Federal Rule of Civil Procedure

   26(e).

2. Fact Discovery. The parties shall commence fact discovery upon the filing of this

   Joint Stipulated Case Management Order and complete it in accordance with Exhibit

   A.

3. Discovery Conference. This stipulated Order relieves the parties of their duty under

   Federal Rule of Civil Procedure 26(f) to confer about scheduling and a discovery

   plan.

4. Third-Party Discovery. The notice requirements of Federal Rule of Civil Procedure

   45(a)(4) shall apply. No party issuing a third-party subpoena for the production of

   documents or electronically stored information shall request a return date sooner than

   seven (7) calendar days after service. Every documentary subpoena to a third party

   shall include a cover letter requesting that (1) the third party Bates-stamp each

   document with a production number and any applicable confidentiality designation

   prior to producing it and (2) the third party provide to the other parties copies of all

   productions at the same time as they are produced to the requesting party. If a third

   party fails to provide copies of productions to the other parties, the requesting party

   shall produce all materials received pursuant to the third-party subpoena, as well as

   all materials received voluntarily in lieu of a subpoena, including declarations or
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   affidavits obtained from a third party, to all other parties within three (3) business

   days of receiving those materials. Production shall occur in the format the materials

   were received, except that in the event a non-party produces documents or electronic

   information that are non-Bates-stamped, the party receiving the documents shall

   promptly Bates-stamp the documents or electronic information and produce them in

   an appropriate timeframe. The parties shall serve document requests to third parties

   by the deadlines in Exhibit A.

5. Limitations on Party and Third-Party Declarations or Letters. No party may submit

   as evidence a declaration, letter, or affidavit from a party or third-party fact witness if

   such declaration, letter, or affidavit was executed or served less than three (3)

   business days prior to his or her agreed-to deposition date. In any event, no party or

   third-party declaration, letter, or affidavit may be submitted as evidence if it was

   executed or served fewer than seven (7) calendar days before the close of fact

   discovery. Declarations, letters, or affidavits produced after this date shall not be

   admitted into evidence or used at the preliminary injunction hearing absent agreement

   of the parties or with leave of the Court for good cause shown.

6. Document Requests and Production. No more than 25 requests for production shall

   be served on any party. The parties agree to make good faith efforts to produce

   documents on a rolling basis, prioritizing data requests, and shall make a good-faith

   effort to substantially comply with requests for production no later than thirty (30)

   calendar days after the date of service. The parties shall serve any objections to

   requests for the production of documents no later than ten (10) calendar days after the

   date of service of the document requests to which they assert objections. Within three

   (3) calendar days of service of any such objections, the parties shall meet and confer
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   in a good faith attempt to resolve the objections. The parties also agree to make a

   good faith effort to substantially produce documents for a deponent three (3) calendar

   days before the deponent’s deposition, provided the deposition is noticed for a date no

   fewer than thirty (30) calendar days after service of objections to the corresponding

   document requests. In response to any document requests, the parties need not

   produce to each other in discovery in this case any documents previously produced by

   Defendants to the FTC in the course of the investigation of Tapestry, Inc.’s proposed

   acquisition of Capri Holdings Limited, FTC File No. 231-0133.

      a) Document Productions shall be sent to the attention of:

               i.   To the FTC:

                      Danielle Quinn (dquinn@ftc.gov)
                      Nicole Lindquist (nlindquist@ftc.gov)
                      Laura Antonini (lantonini@ftc.gov)
                      Peter Colwell (pcolwell@ftc.gov)
                      Andrew Lowdon (alowdon@ftc.gov)
                      Blake Risenmay (brisenmay@ftc.gov)
                      Tim Singer (tsinger@ftc.gov)
                      Steven Powell (spowell@ftc.gov)
                      Mary Karikari (mkarikari@ftc.gov)

              ii.   To Tapestry:

                    Andrew.Paik@lw.com
                    Mary.Casale@lw.com
                    Chris.Brown@lw.com
                    David.Johnson@lw.com
                    Kimon.Triantafyllou@lw.com
                    Ivy.Ziedrich@lw.com
                    Charlotte.Yeung@lw.com
                    Brian.Nowak@lw.com
                    Patrick.Dezil@lw.com
                    TLSPM_Latham_Sunrise@transperfect.com

             iii.   To Capri:

                    JMMoses@WLRK.com
                    EPGolin@WLRK.com
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                     DGDidden@wlrk.com
                     ALGoodman@wlrk.com
                     KRHaigh@wlrk.com
                     BAFish@wlrk.com
                     JCKaplan@wlrk.com
                     MJSicilian@wlrk.com
                     capriservice@wlrk.com

7. Requests for Admission. The parties shall serve no more than 20 requests for

   admission, including subparts, per side, not including those related solely to the

   authenticity of a document or the admissibility of documents, data, or other evidence.

8. Interrogatories. The parties shall serve no more than ten (10) interrogatories per side,

   only five (5) of which can be contention interrogatories, served later in the discovery

   period pursuant to Local Rule 33.3. The parties shall serve objections to

   interrogatories no later than ten (10) calendar days after the date of service. Within

   three (3) calendar days of service of any such objections, the parties shall meet and

   confer in a good faith attempt to resolve the objections. The parties shall serve

   substantive responses no later than fourteen (14) days after service of objections to

   the interrogatories.

9. Deadline to Issue Written Discovery to Parties. Document requests, requests for

   admission, and interrogatories must be served no later than the dates as set out in

   Exhibit A.

10. Expert Reports. Plaintiff and Defendants shall serve expert reports, rebuttal expert

   reports, and reply expert reports on the dates set forth in Exhibit A.

11. Expert Materials Not Subject to Discovery. Expert disclosures, including each side’s

   expert reports, shall comply with the requirements of Federal Rule of Civil Procedure

   26(a)(2), except as modified herein:



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      a)       Neither side must preserve or disclose, including in expert deposition

               testimony, the following documents or materials, and the Parties shall not

               be obligated to include such information on any privilege log:

                i.    any form of communication or work product shared between any of

                      the parties’ counsel and their expert(s) or consultants, or between

                      any of the experts themselves, unless such communications relate to

                      assumptions that the party’s counsel provided and that the expert

                      relied on in forming the opinions to be expressed;

               ii.    any form of communication or work product shared between an

                      expert(s) and persons assisting the expert(s);

              iii.    expert’s notes, unless the expert expressly relies upon and/or cites

                      such notes;

              iv.     drafts of expert reports, affidavit, declaration, exhibits, analyses, or

                      other work product; or

               v.     data formulations, data runs, data analyses, or any database-related

                      operations not relied upon by the expert in the opinions contained in

                      his or her final report, except as set forth in 11(b).

      b) The parties agree that they will disclose the following materials with all expert

           reports:

                i.    a list by Bates number of all documents relied upon by the testifying

                      expert(s); and copies of any materials relied upon by the expert not

                      previously produced that are not readily available publicly;




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              ii.   for any calculations appearing in the report, all data and programs

                    underlying the calculation, including all programs and codes

                    necessary to recreate the calculation from the initial or raw data.

12. Notwithstanding anything to the contrary, the testifying expert may be presented at

   deposition or the hearing with documents, testimony, or other materials not contained

   in his or her expert report(s) and questioned about whether the testifying expert saw

   or considered such documents, testimony, or other materials; the reasons why the

   testifying expert did or did not consider or rely on such documents, testimony, or

   other materials in forming his or her opinions; and whether such documents,

   testimony, or other materials cause the testifying expert to alter his or her opinions in

   any respect.

13. Exchange of Lists of Fact Witnesses to Appear at Hearing.

       a) Preliminary Fact Witness Lists: The parties shall exchange preliminary fact

           witness lists in accordance with Exhibit A. Preliminary fact witness lists shall

           be limited to twenty-five (25) per side and summarize the general topics of

           each witness’s anticipated testimony. The preliminary witness list shall

           include the name of the employer of each witness and a description of the

           responsibilities of any third-party witness. Only a witness who appears on a

           party’s preliminary witness list may be included on that party’s final witness

           list, unless opposing party was provided a reasonable opportunity to take the

           witness’s deposition prior to the close of fact discovery, absent agreement of

           the parties or with leave of the Court for good cause shown.

       b) Final Fact Witness Lists: Final fact witness lists shall be exchanged in

           accordance with Exhibit A. The final fact witness list shall identify all fact
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            witnesses the producing party expects that it may present at the evidentiary

            hearing. Final fact witness lists shall be limited to twenty (20) per side and

            shall summarize the general topics of each witness’s anticipated testimony.

            Each side’s final fact witness list shall be limited to witnesses who appeared

            on either side’s preliminary fact witness list and up to ten (10) others,

            provided that any witness not appearing on a preliminary fact witness list must

            have otherwise been deposed or the opposing party was provided a reasonable

            opportunity to take the witness’s deposition prior to the close of fact discovery

            in connection with this federal court preliminary injunction proceeding absent

            agreement of the parties or with leave of the Court for good cause shown.

            Additional witnesses may be added to either side’s final fact witness list after

            the date identified in Exhibit A only by agreement of the parties or with leave

            of the Court for good cause shown.

14. Depositions.

       a)      Number of Fact Depositions. The parties agree that relief from the

               limitation on the number of depositions set forth in Federal Rule of Civil

               Procedure 30(a)(2) is necessary and appropriate. Each side may depose a

               witness who (i) is listed on either side’s preliminary fact witness list or (2)

               provides a declaration, note of support or opposition, or affidavit in

               connection with this matter. In addition, each side may take a maximum

               of twenty-five (25) depositions of individuals beyond those listed on either

               side’s preliminary fact witness lists and/or who provide a declaration, note

               of support or opposition, or affidavit. Each 30(b)(6) deposition notice

               counts as one deposition for purposes of this paragraph even if the noticed
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            entity designates multiple individuals to provide testimony. Cross-notices

            of depositions will not count against the above totals. To the extent a

            deposition involves a non-party and is not cross-noticed, the party who did

            not notice the deposition will have 30 minutes available to them and the

            party seeking the deposition will have 6 hours and 30 minutes. Additional

            depositions of fact witnesses shall be permitted only by agreement of the

            parties or by leave of the Court for good cause shown. The parties shall

            consult with each other prior to confirming any deposition to coordinate

            the time and place of the deposition. The parties shall use reasonable

            efforts to reduce the burden on witnesses noticed for depositions and to

            accommodate the witness’s schedule.

      b)    Allocation of time. All depositions, including depositions of individual

            fact and expert witnesses, shall last no more than seven hours. For the

            avoidance of doubt, one deposition notice issued pursuant to Rule 30(b)(6)

            shall last no more than seven hours even if more than one individual is

            designated to provide testimony. If both Plaintiff and Defendants issue a

            subpoena to depose the same third-party fact witness, they shall allocate

            the time evenly between them. For purposes of this Order, former

            employees, consultants, agents, contractors, or representatives of the

            parties are considered party witnesses. Unused time in any side’s

            allocation of deposition time shall not transfer to the other side.

      c)    Notice. The parties may not serve a deposition notice with fewer than

            seven (7) calendar days’ notice. The parties shall consult with each other

            prior to confirming any deposition to coordinate the time and place of the
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                deposition. The parties shall use reasonable efforts to reduce the burden

                on witnesses noticed for depositions and to accommodate the witness’s

                schedule. If a party serves a non-party subpoena for the production of

                documents or electronically stored information and a subpoena

                commanding attendance at a deposition, the deposition date must be at

                least seven (7) calendar days after the original return date for the

                document subpoena.

       d) Deposition Designations. The parties agree to work in good faith to reach

           agreement regarding the need, and, if appropriate, a procedure for deposition

           designations by the close of fact discovery.

       e) Remote Depositions. All party and non-party depositions in this matter shall

           be conducted remotely, except that expert witness depositions may be

           conducted in-person at deposing counsel’s option. The parties agree to meet

           and confer regarding remote depositions and the protocol that would govern

           any such depositions.

15. Expert Depositions. Each side may take one deposition of each of the other side’s

   testifying experts. Unless the parties agree or the Court orders otherwise, expert

   depositions must be completed before the close of expert discovery, as set forth in

   Exhibit A.

16. Discovery Uses. All discovery taken in the above-captioned litigation can be used in

   connection with any Part 3 administrative proceeding. Only discovery obtained by a

   party in any Part 3 administrative proceeding before the close of fact discovery in this

   proceeding may be used as part of this litigation, except by agreement of the parties

   or by leave of the Court for good cause shown.
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C.   MOTIONS AND BRIEFING SCHEDULE

     1. Plaintiff will file its memorandum in support of its motion for a preliminary

        injunction by the date set in Exhibit A. This brief is not to exceed 35 pages.

     2. Defendants will file their opposition to the Plaintiff’s motion for a preliminary

        injunction by the date set in Exhibit A. This brief is not to exceed 40 pages.

     3. Plaintiff will file its reply memorandum in further support of its motion for a

        preliminary injunction by the date set in Exhibit A. This brief is not to exceed 20

        pages.

     4. Any motions in limine or Daubert motions, shall be filed by the date set in Exhibit A.

        Any responses to any such motions shall be filed by the date set in Exhibit A. Any

        briefs in support of, or in opposition to, motions in limine shall not exceed 5 pages.

        Any briefs in support of, or in opposition to, Daubert motions shall not exceed 15

        pages.

     5. Each side’s prehearing proposed findings of fact and conclusions of law will be filed

        by the date in Exhibit A and shall not exceed 50 pages. Each side’s post-hearing

        proposed findings of fact and conclusions of law will be filed by the date in Exhibit A

        and shall not exceed 100 pages.

D.   PRELIMINARY INJUNCTION EVIDENTIARY HEARING

     1. The parties propose an evidentiary hearing of twenty (20) hours per side on the date

        set in Exhibit A. Time spent conducting a direct examination shall count against the

        side conducting that direct examination; time spent conducting a cross-examination

        shall count against the side conducting that cross-examination. Time spent arguing

        an objection shall count against the side that loses the objection. Plaintiff and

        Defendants will each tally the time consumed by each side and confer on a daily basis
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        on the total time each side has consumed. Plaintiff may reserve a portion of their

        time for rebuttal. Unused time does not transfer to the other side.

E.   OTHER MATTERS

     1. Service. Service of any documents not filed via ECF, including pleadings, discovery

        requests, Rule 45 subpoenas for testimony or documents, expert disclosure, and

        delivery of all correspondence, whether under seal or otherwise, shall be by electronic

        mail to the following individuals designated by each party:

                    i.   For FTC:

                         Abby Dennis (adennis@ftc.gov)
                         Peggy Bayer Femenella (pbayerfemenella@ftc.gov)
                         Danielle Quinn (dquinn@ftc.gov)
                         Nicole Lindquist (nlindquist@ftc.gov)
                         Laura Antonini (lantonini@ftc.gov)
                         Peter Colwell (pcolwell@ftc.gov)
                         Andrew Lowdon (alowdon@ftc.gov)
                         Blake Risenmay (brisenmay@ftc.gov)
                         Tim Singer (tsinger@ftc.gov)
                         Steven Powell (spowell@ftc.gov)
                         Mary Karikari (mkarikari@ftc.gov)

                   ii.   For Tapestry:

                           Sean.Berkowitz@lw.com
                           Chris.Brown@lw.com
                           Lawrence.Buterman@lw.com
                           Mary.Casale@lw.com
                           Lindsey.Champlin@lw.com
                           Ian.Conner@lw.com
                           Jennifer.Giordano@lw.com
                           David.Johnson@lw.com
                           Andrew.Paik@lw.com
                           Al.Pfeiffer@lw.com
                           Amanda.Reeves@lw.com
                           Chris.Yates@lw.com
                           Brian.Nowak@lw.com
                           Patrick.Dezil@lw.com




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             iii.   For Capri:

                    JMMoses@wlrk.com
                    EPGolin@wlrk.com
                    DGDidden@wlrk.com
                    ALGoodman@wlrk.com
                    KRHaigh@wlrk.com
                    BAFish@wlrk.com
                    JCKaplan@wlrk.com
                    MJSicilian@wlrk.com
                    capriservice@wlrk.com

   In the event the volume of served materials is too large for email and requires

   electronic data transfer by file transfer protocol or a similar technology, or overnight

   delivery if agreed by the parties, the serving party will telephone or email the other

   side’s principal designee when the materials are sent to provide notice that the

   materials are being served. For purposes of calculating discovery response times

   under the Federal Rules of Civil Procedure, electronic delivery shall be treated the

   same as hand delivery.

2. Response to Complaint. Defendants shall answer the complaint or file another

   response pursuant to the Federal Rules on or before the date set in Exhibit A.

3. Nationwide Service of Process. Good cause having been shown in view of the

   geographic dispersion of potential witnesses in this action, the parties will be allowed

   nationwide service of process of discovery and evidentiary hearing subpoenas

   pursuant to Federal Rule of Civil Procedure 45 and 15 U.S.C. § 23, to issue from this

   Court that may run into any other federal district requiring witnesses to attend this

   Court. The availability of nationwide service of process, however, does not make a

   witness who is otherwise “unavailable” for purposes of Federal Rule of Civil

   Procedure 32 and Federal Rule of Evidence 804 available under these rules regarding

   the use at the evidentiary hearing of a deposition taken in this action.
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4. Protective Order Concerning Confidentiality. The parties anticipate requesting entry

   of a Protective Order Concerning Confidentiality.

5. Privilege Logs. The parties agree to suspend the obligations of Federal Rule of Civil

   Procedure 26(b)(5)(A) to produce a log of materials withheld from discovery in this

   case (excluding Defendants’ productions made during the course of the FTC’s pre-

   complaint investigation) for the following categories of documents:

       a) Documents or communications sent solely between or among external counsel

           for the Defendants, including any persons employed by counsel or acting on

           their behalf, on the one hand, and employees or agents of the Defendants, on

           the other hand;

       b) Documents or communications sent solely between or among counsel for

           Plaintiff, including any persons employed by counsel or acting on their behalf,

           on the one hand, and employees or agents of Plaintiff, on the other hand;

       c) Documents or communications sent solely between outside counsel for

           Defendants (or persons employed by or acting on behalf of such counsel) or

           solely between counsel for Plaintiff (or persons employed by or acting on

           behalf of such counsel);

       d) Documents or communications sent solely within Plaintiff’s organization

           (including persons employed by or acting on behalf of the Plaintiff);

       e) Documents or communications sent solely between or among experts retained

           for purposes of this matter (including the Federal Trade Commission’s

           investigation of this matter), on the one hand, and counsel for any Party or

           Parties, employees of the parties, the experts themselves, or persons acting



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          under the supervision of or on behalf of those experts in connection with the

          expert’s work on this matter, on the other; and

       a) Materials exempted from disclosure under the Expert Materials provision of

          Paragraph 11 of this Order.

   Defendants may provide a metadata only privilege log for documents or

   communications sent solely between or among in-house counsel for the Defendants,

   including any persons employed by counsel or acting on their behalf, on the one hand,

   and employees or agents of the Defendants, on the other. This Paragraph shall not

   alter either party’s right to challenge any privilege claims made by either party.

6. Inadvertent Production of Privileged Material. In accordance with Federal Rule of

   Civil Procedure 16(b)(3)(B)(iv) and Federal Rule of Evidence 502(d), inadvertent

   production of documents or communications containing privileged information or

   attorney work product shall not be a basis for loss of privilege or work product of the

   inadvertently produced material, provided that the producing party notifies the

   receiving party within a reasonable period of time of learning of the inadvertent

   production. When a party determines that it has inadvertently produced such

   material, it will notify other parties, who will promptly return, sequester, or delete the

   protected material from their document management systems. Within two (2)

   business days of identifying inadvertently produced information or documents(s), the

   party seeking claw-back of such materials shall provide a privilege log entry for the

   identified information or documents.

7. Attorney Work-Product. The parties will neither request nor seek to compel the

   production of any interview notes, interview memoranda, or recitation of information

   contained in such notes or memoranda, or recitation of information contained in such
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   notes or memoranda, created by any party’s Counsel, except as specified in Paragraph

   11. Nothing in this Order requires the production of any party’s attorney work-

   product; confidential attorney-client communications; communications with or

   information provided to any potentially or actually retained expert; communications

   between counsel for the FTC, its Commissioners, and/or persons employed by the

   FTC; or materials subject to the deliberative-process privilege or any other privilege.

8. Electronically Stored Information. The parties agree as follows regarding the

   preservation and production of electronically stored information (“ESI”):

       a) All Parties have established litigation holds to preserve ESI that may be

           relevant to the expected claims and defenses in this case. In addition, the

           Parties have taken steps to ensure that automatic deletion systems will not

           destroy any potentially relevant information.

       b) All Parties agree that the use of Technology Assisted Review tools may assist

           in the efficienct production of ESI. However, if a party desires to use such

           technologies that materially differ from the technologies used in connection

           with Defendants’ response to the Second Request, it shall meet and confer

           with the other side and negotiate in good faith on the reasonable use of such

           technology.

       c) All parties will request ESI in the form or forms that facilitate efficient review

           of ESI. In general, the parties shall produce ESI according to the same ESI

           technical specifications used by Defendants in the FTC’s pre-complaint

           investigation. However, the parties need not produce color images of

           documents during production. If a party requests color images of specific



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          documents, then the receiving party shall provide it within three (3) business

          days.

9. Evidentiary Presumptions.

      a) All documents produced by a Defendant either in response to document

          requests in this litigation or in the course of the FTC’s pre-complaint

          investigation of the proposed acquisition, FTC File No. 231-0133, are

          presumed to be authentic. All documents produced by non-parties from their

          files shall be presumed to be authentic within the meaning of Federal Rule of

          Evidence 901. If a party serves a specific written objection to a document’s

          authenticity, the presumption of authenticity shall no longer apply to that

          document, and the parties shall promptly meet and confer to attempt to resolve

          the objection. The Court will resolve any objections that are not resolved

          through this means or through the discovery process.

      b) Any party may challenge the authenticity or admissibility of a document, and

          if necessary may take discovery related solely to authenticity or admissibility

          of documents.

10. Modification of Scheduling and Case Management Order. Any party may seek

   modification of this Order for good cause, except that the parties may also modify

   discovery and expert disclosure deadlines by agreement.




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                          EXHIBIT A - PROPOSED SCHEDULE


                            Event                                      Date(s)
                                                            Upon filing of this Proposed
                                                            Joint Stipulated Case
Discovery Commences
                                                            Management Order with the
                                                            Court

Response to Complaint                                       May 6, 2024

Parties Serve Initial Disclosures                           May 7, 2024

Plaintiff Serves Preliminary Fact Witness Lists             May 10, 2024 at 5 p.m. ET

Defendants Serve Preliminary Fact Witness List              May 15, 2024, at 5 p.m. ET

Deadline to Serve Written Discovery, excluding Contention
                                                            May 17, 2024
Interrogatories

Deadline to Serve Contention Interrogatories                June 26, 2024

Good-faith Commitment to Complete Party Depositions         July 19, 2024

Close of Fact Discovery                                     July 26, 2024

Plaintiff Serves Initial Expert Report(s)                   July 26, 2024

Plaintiff’s Memorandum of Law in Support of Preliminary
                                                            August 6, 2024
Injunction Motion

Defendants Serve Rebuttal Expert Report(s)                  August 7, 2024

Plaintiff Serves Expert Rebuttal/Reply Report(s)            August 14, 2024

Defendants’ Opposition to Preliminary Injunction Motion     August 20, 2024

Close of Expert Discovery                                   August 20, 2024

Exchange of Final Witness Lists                             August 21, 2024 at 5 p.m. ET

Exchange of Exhibit Lists and Deposition Designations (to
                                                            August 23, 2024 at 5 p.m. ET
the extent necessary)




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                           Event                                           Date(s)
Each Party informs each non-party of all documents
produced by that non-party that are on that Party’s exhibit
                                                                August 23, 2024
list and all depositions of that non-party that have been
designated by any Party (to the extent necessary)

Deadline for Motions In Limine and Daubert Motions              August 26, 2024

Plaintiff’s Reply to Defendants’ Opposition to Preliminary
                                                                August 27, 2024
Injunction Motion

Each side exchanges its objections to the other side’s
exhibits and opening deposition designations and provides       August 27, 2024
its deposition counter-designations (to the extent necessary)

Each side exchanges its objections to the other side’s
deposition counter-designations and its counter-counter-        August 29, 2024
designations (to the extent necessary)

Deadline for Oppositions to Motions In Limine and Daubert
                                                                August 30, 2024
Motions

Proposed Findings of Fact and Conclusions of Law                August 30, 2024

Non-parties provide notice whether they object to the
potential public disclosure at hearing of any non-party
                                                                August 30, 2024
documents and depositions, explain the basis for any such
objections, and propose redactions where possible

Parties meet and confer regarding disputes about
                                                                August 30, 2024 (and as
confidentiality of Party documents on hearing exhibit lists
                                                                required thereafter)
and deposition designations (to the extent necessary)

Parties meet and confer regarding admissibility of hearing      August 30, 2024 (and as
exhibits                                                        required thereafter)

Joint submission regarding disputes about admissibility of
                                                                September 4, 2024
hearing exhibits

Joint submission regarding disputes about confidentiality of
Party and non-party documents on hearing exhibit lists to       September 4, 2024
be filed

Evidentiary Hearing Begins                                      September 9, 2024
Post-Hearing Proposed Findings of Fact and Conclusions of 7 days after the evidentiary
Law                                                       hearing concludes

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STIPULATED AND AGREED:
S/ Abby Dennis                                     May 1, 2024
Counsel for Federal Trade Commission               Date


S/ Alfred C. Pfeiffer                              May 1, 2024
Counsel for Tapestry, Inc.                         Date


S/ Elaine P. Golin                                 May 1, 2024
Counsel for Capri Holdings Limited                 Date


      This order has been entered after consultation with the parties. Absent good cause
shown, the deadlines set by this order will not be modified or extended.


                                     1st         May                24
       IT IS SO ORDERED, this         __ day of ________________, 20_____.



                                              ___________________________
                                              UNITED STATES DISTRICT JUDGE
                                                  The Honorable Jennifer L. Rochon




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